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                                UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
7
8     MEGHAN DOWNING, individually and              Case No.: 2:21-cv-02950-MWF (JEMx)
9     on behalf of all others similarly situated,
                                                    ORDER GRANTING VOLUNTARY
10                 Plaintiff,                       DISMISSAL WITH PREJUDICE,
                                                    PURSUANT TO FEDERAL RULE OF
11          v.                                      CIVIL PROCEDURE 41(a)(1)
12    LES BOUTIQUES CLARINS LTD, a
13    Delaware corporation; and DOES 1 to 10,
      inclusive,
14
                   Defendants.
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16
17    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
18          On November 10, 2021, Plaintiff filed a notice of voluntary dismissal with prejudice,
19    pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) [Dkt. 18].
20          Upon due consideration, good cause appearing, the Court DISMISSES this action
21    with prejudice as to Plaintiff’s individual claims. Each party must bear its own costs and
22    attorneys’ fees. The Clerk of Court is instructed to terminate all pending motions and
23    deadlines and close the case.
24          IT IS SO ORDERED.
25
26    DATED: November 10, 2021                ____________________________________
                                                   MICHAEL W. FITZGERALD
27                                                 United States District Judge
28
